   Case 1:10-cr-00002-JPJ-PMS      Document 580      Filed 03/22/10   Page 1 of 5
                                   Pageid#: 4385



                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF VIRGINIA
                           Abingdon Division
UNITED STATES OF AMERICA      )
                              )
             v.               )
                              )                   Case No. 1:10cr00002-006
APRIL SHANNON HUTSON, et al., )                   MEMORANDUM ORDER
    Defendants                )



      This matter is before the undersigned on Defendant’s Motion To Identify All
Confidential Informants, (Docket Item No. 341), (“Motion”). Based on the arguments
and representations of counsel presented at the March 8, 2010, hearing, and for the
reasons set forth below, the Motion is GRANTED in part and DENIED in part.


      The law recognizes a privilege held by the government to withhold from
disclosure the identity of persons who furnish information of violations of law. See
Roviaro v. United States, 353 U.S. 53, 59 (1957). The Supreme Court, however, has
held that the identity of a confidential informant must be disclosed where the
information would be relevant and helpful to the defense of an accused. See Roviaro,
353 U.S. at 60-61. The Court has held that whether the identity of a confidential
informant should be revealed depends upon the particular circumstances of each case,
taking into consideration the crime charged and the possible defenses, the possible
relevance and significance of the informant’s testimony and other related factors. See
Roviaro, 353 U.S. at 62.


      In general, the Fourth Circuit Court of Appeals has held that, when a

                                         -1-
    Case 1:10-cr-00002-JPJ-PMS       Document 580      Filed 03/22/10    Page 2 of 5
                                     Pageid#: 4386



confidential informant is an active participant in an alleged crime, the identity of the
informant should be revealed. See United States v. Price, 783 F.2d 1132, 1138 (4th
Cir. 1986); McLawhorn v. North Carolina, 484 F.2d 1, 5 (4th Cir. 1973). On the other
hand, the Fourth Circuit has held that the identity of a “mere tipster” does not need to
be revealed. See McLawhorn, 484 F.2d at 5. Furthermore, this circuit has placed the
burden of showing the need for disclosure on the defendant. See United States v.
Blevins, 960 F.2d 1252, 1258-59 (4th Cir. 1992). “Indeed, this circuit has made clear
that the onus is on the defendant to ‘come forward with something more than
speculation as to the usefulness of such disclosure.’” Blevins, 960 F.2d at 1259
(quoting United States v. Smith, 780 F.2d 1102, 1108 (4th Cir. 1985)).


      In this case, the defendant asserts that the identities of all 34 of the
government’s confidential informants are relevant and essential to the defense because
they were “active participants in the alleged events that led to ... Leonard’s arrest and
are able to provide material information regarding these events.” (Memorandum In
Support Of Defendant’s Motion To Identify All Confidential Informants, (Docket
Item No. 342) (“Defendant’s Brief”), at 4.) The government argues that Leonard has
failed to meet his burden to require disclosure because he has not “particularly
addressed each informant’s status as either a ‘tipster,’ for which no disclosure is
necessary, or as a ‘participant,’ for which disclosure may be justified.” (Response To
Defendant’s Motions For Bill Of Particulars And To Identify All Confidential
Informants, (Docket Item No. 475) (“Government’s Brief”), at 5.)


      The Indictment in this case charges each of the defendants, including Leonard,
with conspiracy to distribute and possess with intent to distribute five kilograms or


                                           -2-
   Case 1:10-cr-00002-JPJ-PMS      Document 580      Filed 03/22/10   Page 3 of 5
                                   Pageid#: 4387



more of cocaine, oxycodone and hydrocodone. Thus, the government’s case will
necessarily revolve around proving the extent, scope and subject of the alleged
conspiracy. While the court does not know the full extent of the evidence that the
government will produce at trial, the court does have the benefit of the 86-page
Criminal Complaint used to initiate charges against the defendants.


      Based on the information contained in the Criminal Complaint only one
confidential source has offered any evidence against Leonard.         The Criminal
Complaint states:


            On December 9, 2009, CS-33 was interviewed in Blountville,
      TN.CS-33 stated that Johnathan LEONARD was addicted to cocaine and
      OxyContin. CS-33 stated that LEONARD was supplied drugs by
      Shannon HUTSON. CS-33 stated that HUTSON paid LEONARD with
      drugs to do construction work on her residence. CS-33 stated that
      LEONARD currently owed a drug debt to HUTSON in the amount of
      $10,000.00.

(Criminal Complaint at 28). The Complaint does not contain any explanation of how
CS-33 gained this knowledge. There is no specific information contained in the
Criminal Complaint to show that CS-33 or any other confidential source had alleged
that he or she had personally witnessed Leonard either possess or distribute cocaine,
oxycodone or hydrocodone. Thus, it would appear from the evidence before the court
that, insofar as CS-33 provided evidence linking Leonard to this alleged drug
conspiracy, CS-33 acted more in the role of a “tipster.”


      Nonetheless, what is clear from a review of the Criminal Complaint is that CS-
33 and at least 27 of the other confidential informants were “active participants” in

                                         -3-
   Case 1:10-cr-00002-JPJ-PMS      Document 580        Filed 03/22/10   Page 4 of 5
                                   Pageid#: 4388



this alleged drug conspiracy. The Criminal Complaint lists 33 specific confidential
informants, identified as CS-1 through CS-34. There is no CS-26 mentioned in the
Criminal Complaint. The Criminal Complaint also, on four separate occasions,
references a “Sullivan County Sheriff’s Office confidential source,” (“SCSO CS”).
The Criminal Complaint does not make clear whether these references are to one
person or four separate persons. The Criminal Complaint does make clear that the
following confidential sources were more that mere tipsters regarding this alleged
drug conspiracy:


      CS-3, CS-4,CS-5 CS-6, CS-9, CS-10, CS-11, CS-12, CS-13, CS-14, CS-
      15, CS-17, CS-18, CS-19, CS-20, CS-21,CS-22, CS-23, CS-24, CS-25,
      CS-27, CS-28, CS-29, CS-30, CS-32, CS-33, CS-34 and the SCSO CS.

The Criminal Complaint contains allegations that each of these confidential sources
either witnessed one or more of the defendants possess or distribute cocaine,
oxycodone or hydrocodone or they purchased or sold cocaine, oxycodone or
hydrocodone to or from one or more of the defendants or they personally assisted one
or more of the defendants in the possession or distribution of cocaine, oxycodone or
hydrocodone within the time period alleged in the Indictment. In fact, the evidence
contained in the Criminal Complaint demonstrates that many of the above-listed
confidential sources are unindicted co-conspirators.


      That being the case, the court finds that Leonard has met his burden to show
that the above-listed confidential sources have relevant and significant testimony to
offer and that, under Roviaro, their identities should be revealed to the defendants.
Therefore, it is ORDERED that the government shall reveal the identities of the


                                         -4-
   Case 1:10-cr-00002-JPJ-PMS      Document 580      Filed 03/22/10    Page 5 of 5
                                   Pageid#: 4389



following confidential sources contained in the Criminal Complaint to defense counsel
by no later than March 31, 2010:


      CS-3, CS-4,CS-5 CS-6, CS-9, CS-10, CS-11, CS-12, CS-13, CS-14, CS-
      15, CS-17, CS-18, CS-19, CS-20, CS-21,CS-22, CS-23, CS-24, CS-25,
      CS-27, CS-28, CS-29, CS-30, CS-32, CS-33, CS-34 and the SCSO CS.

      The Clerk shall provide a copy of this Order to all counsel of record.


                                       ENTER:        March 22, 2010.

                                       /s/     Pamela Meade Sargent
                                             UNITED STATES MAGISTRATE JUDGE




                                         -5-
